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ITED DISTRICT. COURT ©

 

~against~

Jeremy Burch is John Dee #1
Coal, moe is John Doe #2

Rosati, Gregory Beecher,
Michael Paige, Richard Lapen,
Arthur Harris is ? Harris, —
John Rosati, Curtis Poirier, —
Jason Abraham is J. Abrahan, |
Edvard » Scott Bishop,
Eric Rich is E. Rich,
Denald Smith is John Doe-D. Smith,
David Skeliie, Scott Hemel,
Sean Corrigan, chael Mussen,
Brandon Jaquish,
Andrew Frazier is Colin Frasex,
Andrew Fraizer {1 316. is Andrew Frasier,
Darin Williams, Matthew Sabo,
Willian Kline, Michael Hoy,
Keith Hendry,
Peter Besson,
Rod Eastman is R. Eastman,
Stephen Rowe is a. Rowe,
Rendy Gross, Larry Foote
Brandi White, ,
Kathleen White is Kathy/Karen White,
Karin West, Diana Cosey,
Shirley French,
Fisher Nesmith is John Dee #3,
Ken Verio, Jane Doe #1,
Michele Czerwinski,
Howard Sil ’
William Reduond is Redman,
Karen Lapolt, Themas Forbes,
Patrick Vanguilier is Poul Wenn,

a angu anguilder
Chris Lindquist is ? Luidquist,
t t

Karen Bellamy, ,
Donald Selaky, |
Steven Van Buren,
Richard McDevitt,

COMPLAINT

US. DISTRICT COURT - N.D. OF io TRIAL DEMANDED
U.S.C. 1983, 1985, 1986
FILED ’ ,

8/U.S.C. 1961, 1962, 1964

 

 

CCT 10 2008

 

 

AT. O'CLOCK

 

Lawrence K. Baerman, Qerk - Syracuse

 

 

SOK-Qv (Wey

 

 

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Vern Forde, Richard
Lucien 35 Leclaire sen
Brian Fischer,
J. Laffrede, Deborsh Clark,
Le Steward,
Jemeg M. :

Kortrigh
Andrew M. Cucmo,
Eliot L. Spitser,
David Patterson,
Stan L. Prister,
Postitaster, U.3.P.8. of Gonsteck NY, and
United States Postal Sexvice.

 

 

  

This is a civil ¥ aation £iled by nn , an marae
for the Damages and b welief uuler 42 U.3.C

Breagh of Duty, Diseriminatien, Umarranted Excessive Uce Of Force
Inadequate 1 Attention, Denial to Medical Care, Denial of Due Process, Denial Aecess
to the Court, Denial Fresden @£ Spesch, Inedequate Lrmate Grievence Program, Theft of Legal
Mail, Theft ef Personal Mai), . to Procesa Yalony Complaints, Ganepiracy, Cruel
Unueuel Punistment, Theft of teeming food pack items, denial te package items, Filing
of Falee Statement, Filing of ‘Palse » Retaliation » Threats of

Failure to Protest, Breach of Swern Oath as Public
tering Hodioal Resende, Untuane Treataont Prisenere and the Plaintiff,
Organization Extexprise Carruption which leativaly
constitutes violations of the First, Fourth, Fifth, 81 Righth, Minth and Fourteanth
Amondzente end Acticles thereef the United States of "g Conatdtution.

The Plaintifé also the Torts of Vigilente Geng Assault and Battery
Discrimination, Hate Crimes and . ,

|. JURISDICTION

This has t matter jurisdiction pursumt te 28 U.S.C. §§ 1331, 1339
1343, and 1361(b)(6) and (ohe oa

‘The Court has Suppleseshel Jurisdiction over the Plaintiff's State Law Tort Claims
under 28 U.S.C. § 1367. “|

 

 
 

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PARTIES

1. The Plaintiff Gary Gillard, was incarcerated at Great Meadow Correctional Facility (
COMSTOCK ) during the events described in this complaint which are ongoing and continuing.
2. Defendants Craig Rosati, Gregory Beecher, Michael Paige, Jeremy Burch-John Doe #1.

_ Kelly Doyle-John Doe #2., Richard Lapan, Arthur Harris-? Harris, Johm Rostai, Curtis
Poirier, Jason Abraham-J. Abraham, Edward Carpenter, Scott Bishop, Eric Rich-E. Rich,
Donald Smith-John Doe, David Skellie, Scott Hamel, Sean Corrigan, Michael Mussen; are all
Correctional Officers Employed at Great Meadow Correctional Facility, By New York State
Department. Of Correctional Services, and are Civil Servants of New York State Sworn to up
hold all the Laws of the State Of New York and The United States of America, They are sued
in their Individual and Official Capacities.

3. Defendants Colin Fraser ~Andrew Frazier, Andrew Frazier-Andrew Frazier, Darin
Williams, Matthew Sabo, William Kilne, Michael Hoy, are Correctional Sergeants Employed at
the Great Meadow Correctional Facility, by The New York State Department of Correctional
Services and are Civil Servants sworn to up hold the Law of New York State as well as the
United States of America, They are sued in their Individual and Official Capacities.

4. Defendant Peter Besson, is a Correctional Lieutenant Employed at Great Meadow
Correctional Facility by the New York State Department of Correctional Services, a Civil
Servant of New York State Sworn to up hold the Law of New York State and The United States
of America,He is sued in his Individual and Official Capacities.

5. Defendant Brandi White is Employed at Great Meadow Correctional Facility as the
Supervisor of the Inmate Grievance Program, She is sued in her Individual and Official
Capacities. |

6. Defendant Kathy/Karen White- Kathleen white is Employed at Great Meadow as the
Freedom of Information Officer, She is sued in her Individual and Official Capacities.

7. Defendant John Doe #3-Fisher Nesmith is Employed at Great Meadow Correctional
Facility as Physican's Assistant, He is sued in his Individual and Official Capacities.

8. Defendant Jane Doe #1 is, Employed at Great Meadow Correctional Facility as as Nurse,
She is sued in her Individual and Official Capacities.

‘9. Defendants Howard Silverberg, Clinical Physician II and William Redmond Nurse
Administrator both are Employed by Great Meadow Correctional Facility, and are sued in
their Individual and Official Capacities.

10. Defendants R. Eastman-Rod Eastman and s. Rowe-Stephen Rowe are both Employed at
Great Meadow Correctional Facility as Correctional Captains, Sworn to up hold the Law of
New York State and the United States of America, and of which are Civil Servants Employed

 
 

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by New York State Department of Cerwestional Sexvices, they are sued in their Individual
and Official Copani ties. |

 

Yanguilder, ated David Boek are) splayed at Great Meadow Correctional 1 Facility 1 as the
Administrative team whom are Swora to an Oath to up hold the Laws of New York State and
United States of America, and are Civil Servants of New York State, controlling all
fumetions within said correctional facility, and are being sued in their Individuel and
Official Capacities.

 
  

Lester ieht * Vern Ronda, Righard Roy,

laine Anther ALAC ixaan Fascnexr, are ali Euployed by New York
State as the Comsiesioner and Assietant Comeiesioners, Counsel, and Directors of The New \
York State Department ef Correational Services Corporation/Incorparation, appointed by the
Governor to over see all Correstional Facilities in New York State, they are all sued in
their Individual and Official | Capacities.

13. Defendants atk, Feary J. Lafferde Danis Steward are Baployed by
the State Commission of Correstion as a wateh dog agency to ensure Correctional Facilities
are not abusing prisoner's in pert, By the State Of New York, and are being sued in their
Individual and Official Capacities.

14. Defendent Jemes M. Bogin ie employed by New York State and Federal Fimds to assist
prisoners in assault cases, and ether ereas of need, he is Exployed by Prisoner's Legal
Services of New York, He is being sued in his Individual and Official Capacities.

15. Defendant David L. Nolutty, is Employed by the New York State Policy Sworn by Oath
and a Public Servant to up hold the Laws of New York State, investigate criminal acts and
file of felony complaint with ‘the Attorney General end Local District Attorneys when Crimes
have been committed and Deeught +o his attention, He is sued in his Individual and Official

 

 

2 oxtrisht,. 4s Baployed by the Washington County District Attorney’
Office as the District Attound within The State Of New York, who job is to investigates
criminal complaints and felony eemplaints and prosecute the same, he is a Public Servant
and a Civil Servant sworn to by Gath to up hold the Law of New York State and the United
States of America, He is being eved in his Individual and Official Capacities.

ex, EX~Attorney Genaral and Andrew M. Quomo, current

  
 

 

Attorney General both of the Beene-Of ex York Publie axe Civil Servants are empleyed to
protect the people of New York State and prosecute criminal acts committed by New York
State Baployees and Busniess, Thay are sued in their Individual and Official Capacities.

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eapleyed as Public and Civil Sexvante of the State of New York for the People of New York
end Governa all New York State Correctional Fecilities and conduct thereof are being sued
in their Individual and Official Capacities.

19. Defendant Stan L. Prister is a Washington County Supreme Judge and hears cases from
New York State Prisoners on Article 78 proceedings and is a Public Servant Sworn to up hold
the Law of New York State, He is being Sued in his Individual and Official Capacities.

20. Defendant PostMagter, ie Euployed by the United States Postal Services within New
York State, County of Washington, Town of Comstock, He is sued in his Individual and
Official Capacities.

21. Defendant The United Ste stal Sexvines are a Mailing agency that controls and
cupply all meil end legal ail sexvices to the United States Of America and to New York
State Prisons and are paid to pwevide services which are not being given after payment is
made, they are sued in their individual and Official Capacities.

22 All the Defendants named herein have acted and continue to act under the color of
State Lew and Color of Federal Lew at all times relevent to this Camplaint, Interfering
with the Constitutionally Proteated Rights of this Plaintiff.

 

STATEMENT OF FACTS

23. The Plaintiff is a prisener within New York State Department of Correstions, serving
(4) 20 consecutive years sentences of which do to the crime's convicted of after trial, the
Plaintiff has continuously been Abused, Harassed, Threatened, Assaulted, Personal Property
Broken /destroyed and or stolen by officers, Theft of Mail and Theft of legal mail, Theft
of Incoming Package Item and Feeds. All Complaints and Grievances have been Deliberately
and improperly investigated and denied, All. Medical Attention for Beatings, Injuries, and
' Bequest for pain medications have been denied, All request for Criminal Charges to be filed
for the continued crimes of Assault, Vigilante Gang Assault, Robbery, Harassment, Threats,
Theft of Mail and Theft of Legal mail, have been denied by All State and Federal agencies
as wall as All Institutional Agemeies ard Watch Dog Agancies, New York State Police, New
York Attorney General's Offied, Leaal District Attorney's Office and the Governors Office
of New York State. Thus allowing the continued criminal. conduct within all of New York
State Prisons by State Eaployees against any and all prisoners and this Plaintiff fer
Filing Grievances for the unprefessional conduct, Harasauent, Assault, theft of mail, theft
of items from package room, destruction of cell items in cell search, which are all done in
Retaliation and Reprisal of wivich is never properly investigated because the investigations
are conducted by the cme staff wh are sanctioning and committing the act or ordering the

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act to be committed.

This Plaintiff has been given false reports for allegedly violating rules | in.
Retaliation to complaints, Officers have requested to other inmates. to: ‘ham. the Plaintise
ard have deliberately expose the nature of the crime of conviction to. ensure inmates will |
not assist the plaintiff in any’ legal actions and or give suppoting statements to help.
expose the conduct by these Defendants Officers and co-workers. This Plaintiff has.done |
everything to live within the rules and followed all legal proper procedures to addressing,

 

the issues stated herein with all agencies without any relief and or correction to the

unprofessional conduct , but has, received the beating, assaults, cell destructions mail |
theft, package theft and continued harassment. and Retaliation. These defendants have ‘hot:
only Violated the Federally Protected Rights of This Plaintiff they have: Violated ‘there:
Sworn. Oath to. Ye Hold the Law! s. within: ‘New York State and: the United: Sta ed 7

  
   
   
 

rae OF FORCE

24. On September 17, 2007, ‘The Plaintiff was informed to 20 to: 1 gallery the Annan:
‘Officer Gregory ‘Beecher wanted: to: see him, Officer ‘Gregory’ Beecher is A-man. and acting .
supervisor of A-blocle. ‘Upon the Plaintift reiching the: area: ‘the Plaintite asked why 1 he. was

 

 

 
 
 

 

 

 

 

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‘

Craig Rosati that he has a bad peck at which time Craig Rostai did kick the inside of the
left foot as the Plaintiff was trying to comply to spreading the leg for a pat frisk, the
kicking of the leg was so hard the Plaintiff did loose his balance as Craig Rosati. did
punch, hit, knee and kick the plaintiff es he was falling and on the groamd yelling, "YOU
PIECE OF SHIT MOTHER FUCKER, YOUR A BITCH, GET UP BITCH COME ON FIGHT ME, JUST LIKE I |
THOUGHT YOU A FUCKEN BITCH, NOW GET UP AND PUT YOUR HANDS IN YOUR POCKET, BEECHER I' M GOING
TO WALK MY NEW BITCH TC THE INTERVIEW ROOM. As these events were taking place inmates from
the Plaintiff's company was walking by and did see these events taking place and did see
this Plaintiff thrown to the floor and did: file statements to that fact to Inspector General
in an investigation. ; a . et
26. The Plaintiff was. taken to interview room by Craig 1 Restai and. did inform 1 Lieutenant
Peter Besson of the incident and requested medical attention for injuries te back,, eck

tt

" shoulder and legs, Lieutenant Peter Besson stated he was not ‘there for ‘that and. on:

 
 

 

 

  

 

 

“staff. The plaintiff was instructed: to clean the cell oy ae Besson tae wes destroyed on. .
9/5/2007. -

27. About 2 pn September 17;. 2007, Keith Hendry correctional: . Setgeant did come to the ..
. Plaintiff's cell. which was for a grievance complaint: investigation, the. Plaintiff requested. os .
emergency medical attention do ta the. unwarranted Assault, of 9:30° am that very. mor ning, all
- enna wwhiere denied and. Sisreganded -

 

 

 

 

 

 

 

 

 
 

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30. On Cetober 25, 2007 the Plaintiff was informed by inmates's he had legal mail,
officer’ s refused to let Plaintiff retrieve the legal mail and the mail wes Allegedly
returned to sender, stating INMATE REFUSE TO SIGN.

SECOND MISUSE CF FORCE INCIDENT, VIGILANTE GANG ASSAULT AND BEATING.

“3. On Jenuary 25, 2008 a grievance was filed for the officer working over night
January 24, 2008 11 pm-January 25, 2008 7am tour, for the centinued banging on gate every

round made, to harass plaintiff amd in retaliation to complaints made against unprofessicnal
conduct of staff prior to this date as well as. smelling of Alcohol. on the breath of. this
officer.

to. ‘the banging on the cell all i night, ‘the Plaintifé just:w ied

   

33. On lenin 31 2008 the Plaintife was in his cell resting as an officer banged on |
the cell calling “Gillard get up you have a interview with the sergeant, ‘The Plaintiff |
informed John. Doe #1 he refused, John Doe #1 stated quote " YOU CAN' T REFUSE". » at which.

sy

time: another. officer John Doe: #2 came into view and was. wearing blue leather gloves and: be 2

 

 

 

 
 

 

IEEE ETE _——— OO
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hump as he directed the plaintife to tell the sergeant Andrew Frazier what he wanted te
know, Andrew Frazier stated that Officer Michael Paize has been on the je 25 years and is a
good Man new you are trying te fuck that all up before he retires, now did you smell Alcchol
on his breath, The Plaintiff stated yes, John Doe#1 again Stated tell the sergeant what he

want's to hear, did you smell Aiechol on the Of Ficers breath Andrew Frazier asked a second
time, Plaintiff again: stated. yes, John Doe #1 became more hostal pushing harder inte the ear
area seeking to: put. pain on the: ‘pressure point, stating again tell the serseant what he
wants to hear, did you smell Aleohol. Andrew Frazier asked, The Plaintiff stated no. Andrew

 

Frazier stated Good and then informed the Plaintiff he was going to sign off did he

understand the plaintiff in fear agreed. eptieS
Jo. Andrew. Frazier then came near to the Plaintiff and offered him the 1.D. Card and as.

the Plaintife was | directed to take it,. ‘Andrew’ Exazic

 

  
  
 

ony

r hit. the Plaintife in the face and nose _

   

    

, EAR. LD GI 1 You GOT WHAT Tue FUCK you NEEDED,

yoy SHUT YOUR MOTHER FUCKEN: ‘wouTh, STOP WRITING. GRIEVANCES AND MAYBE YOU"LE LIVE A LITTLE
LONGER." Andrew Frazier stated " TF YOU: FILE ANY MORE GRIEVANCES WE ARE GOING Te BREAK BOTH
YOUR ARMS AND LEGS AND THAT: IS PAINFUL, BO. YOU: UNDERSTAND", the Plaintiff. stated yes in fear

_ Of being - killed right. there. John Doe. #1. stated. " GET. UP OFF THE FLCOR AND. BACK INTO. THE

_ SEATS the Plaintitt was dazed ithe both, hands in the pocket siting en. both. legs. dazed,
014 ast nought. Jotin_Doe a. did gtad the face’ ‘of -

 

 

 
 

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stcod guard and Andrew Frazier went and got the grievance from Michael Paige working 2 and ©
b gallery's of A and B blocks oqntrol bubbles. Upon Andrew Frazier stated to the Plaintiff
he was going to sign off then. ng signed it and started acting Like. he wanted the: Plaintiff

to get out of the area and diredted Jorn Doe ih and: John Bee #2. to take Plaintité back te
i

 

mis cell.

39, While being returned to the company which was the second ‘floor, the inmates on the -

 

company did witness the Plaintiff's’ injuries. ; and did’ file AEfidavits statements as to the
injuries and the fact the Plaintiff was takerr cut of his cell and returned 30 minutes later
by the same John Doe #1_ard John Doe #2.

40. Upon mn Officer Richard Lapan. A-man of A~block: giving ‘out, call out. slips he. as 2
informed by the Plaintifé the Plaintifé \ was throwing up blood ‘two: times ‘a end Brgy

 

 

 

Plaintiff’ and Laughed, he failed to report any use of ‘force and aided 3 in the access , to the:
Plaintift being ‘beaten in Retaliation and Reprisal to a. complaint and grievance filed

Against F nis co-worker and night , shift partner Micheel Paige.

 

 
   
    
  
 
 
 
 
 
  
 
  
   
  
    
   

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bedy of the Plaintif®, as well 4s questions asiked as to what happened by sergeant Michael
sey female nurse upon seeing the bruises asked what is it a fight, sergeant Michael Hoy
ated ne ALLEGED ASSAULT BY STAPF, at which peint Jane Doe #1 refuse to document all areas
af bruises, and acted as if no area was injured, The Plaintiff informed the Jane Dee’ “#t ‘the
right ear and right eye was in a let of pain and requested the ear be locked at more closely _
of which she did and then a officer came inte the room and took picture of all injuries and
bruises placed the disc in a little yellow envelope and marked it. GILLARD,. OL-A-1613- Ex. om
#3. John Doe #3 did come in and also lock at the ear and face and did speak with Jane Doe #1 |
the door and believe it was asked what should she do as directed she did not

 

 

out side
decument any injuries to ensure there is no record of injuries, even though ex-rays where
taken no medication was given for the pain: ‘and or concern of throwing of blood was shown. *

   
 
    
    

 

-” DELIBERATE ‘INDIFFERENCE,
~ DISCRIMINATION: AGAINST SEX OFFENDERS

 

   

| RACKETEER 1 INFLUENCE: AND, CORRUPT ORGANIZATION,

45. On September 4,. 2007 a. grievance was. submitted for denial medical attention
requested, staff continue to state the Plaintiff will be seen by the: Doctor within 10° days.
and: is never cabled back to medical department. and not seen by any one. cause to. suffer in’:

continued pain. aos

           

 
 

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and allow the Plaintiff to receive meals, no reply was received.
49, On Cetoker 4, 2007 the ‘Plaintiff agaim requested sick call ard to be seen by
medical provider for x-rays ard mer brace for injuries and pain of neck area, request again
. denied. | 2 ,
50. On Octeber 17, 2007 the Plaintiff was given a call out for interview with a
_ physical therapist, of whom stated the Plaintiff had two problems and it will not help him
to undergo Physical Therapy, also a long letter was sent to again Nurse Administrator
Michele Czerwinski explaining the interview and my need to see a doctor, the letter was
never addressed by any one within medical department and against my wishes the facility.
- still ordered the physical therapy under Fraud of which the therapist still got payed even |
. thought the Plaintiff never showed up and the facility was informed the Plaintiff was not |
- going | to attend any, such therapy. because it dees net work. and. has: been tried three, times.

 

 
   
   
   

    

wi thout relief, Y ne reply to any oncerms | of Plaintif€ . “ Fe
t. The: laintift filed ao -ievance on. October 29; 2007: with the 7 letter:

   

Ee was held’ 11/19/2007 the kresponse was received 11/26/2007, "pat Wiliams

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. ‘taken, a personal interest in all grievances filed by this Plaintiff and has denied each and

 

every grievance filed false responses , and or dismissed grievances to Protect the *

 

 

 

 
 

 

 

 

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56. The Plaintiff filed a ‘MEDICAL FILE REVIEW AND NAME OF PHYSICAL THERAPIST AND
ADDRESS. TO HIS PLACE OF BUSINESS this request was not responded to in part and the K=rays
where denied access stating The Plaintiff was not a dector so why did he want to see. these
x-rays. all request denied, this was notarized on November 20, 2007.

a7. On November. 26, 2007" 4 letter was written to or. Silverberg requesting medical
attention, no: teply received.

38. A letter was weitten to ‘Brandi White, inmate grievance program supervisor
requesting the supporting documents which are believed to have been taken out to ensure no
fair hearing of all facts can be reviewed, Brandi White is also the Co-worker of Sergeant
Williams and both of these defendants have continued to deliberately undermind the grievance
‘Program and: all. policies and. d. rules. to ensure the continued protection of there fellow:

Break “there. duty, covering up criminal ‘acts’ and conduct: by. oo

 

61... January a, “2008 a sick call ‘request Was. again. submitted for left shoulder out t of. -
place and pain. in neck and back,. on January 3; 2008 I was seen in sick call hospital area,
nurse could not. find the Plaintift "s medical. file and denied the Plaintiff anything for pain
and or relief stating he will put the plaintife in to see the doctor. we a

_.62.. The. Plaintiff filed a ‘Complaint to. Nurse Administrator , Medical ‘Director, Lester
Weighe, ! attorney General Dear tng of Education and Licensing, Comission of Correction

 

  

 

 

 

 

 

   

 
 

 

REE LO EO
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sick call.
66. Sick Call again was filed. on. February 13, 2008 for cold in chest, sore throat, pain

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in face, neck, back and right wrist, denied all access to medical care.
67. February 27, 2008 a request for names and information as of February 1, 2008
examination of beating and injuries , all information denied.
68. The Plaintiff received’ # letter from: Captain R. Eastman} ‘subject: Written Complaint
_ Sent to the Superintendent, Issue denial of a medical callout, which was stated the
Plaintiff was informed by sergeant Hoy the staff did not have the Plaint iff as listed being.
keep lock on 1/24/2008 which is a lie all keep locks are documented in all master callout
sheets, - also the sergeant Hoy. allegedly ‘advised. the Plaintifé to submit a sick call slip to.
address any ‘urgent medical concerns, the Plaintifé may have is false To, uch

   

 

 

woe 7 72. ‘On Apri 22, 2008 the Plaintiff was seen ‘by the doctor and. aga he. doctor refused

te address’ the shoulder out of place and back concerns, stating the: test was. normal which,
was for nerves not. the problems: of bones and disc out of: place. all request: for treatment are
disregarded’ and directed: in. the wrong area to make it appear ‘the Plaintiff ‘is. receiving

nedical bréattient: : when in fact is x caused to: suffer: in, daily pain’ fron injuries in: back,»

 

 

 
 

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HARRASMENT, RETALIATION, THREATS, FILING FALSE REPORTS,
MAKING FALSE STATEMENTS, DESTRUCTION OF CELL, DENIAL OF POWER TO CELL,
REPRISAL, GRUEL AND UNUSUAL PUNISHMENT, CONSPIRACY,
TORTURE, INTIMIDATION, BREACH OF SWORN DUTY
| FAILURE TO PROTECT,
DELIBERATELY PLACING THE LIFE OF A PRISONER IN HARM'S WAY
RACKETEER INFLUENCE AND CORRUPT ORGANIZATION

75. On January 31, 2008 the cable to cell location A-2-18 was cut of about 1:30. pm about |
1 minutes later a officer came to A-2-18 and asked if the Plaintiff was ready, the Plaintiff
asked to where he stated MENTAL HEALTH, the Plaintiff informed the Officer he was not going
to any mental health callout, but could he inform the block officer the Plaintiff request to
speak to the area sergeant because the cable to the cell was, just. cut off,. The, officer : Bi

 

    

 

 

not. the person to. seek t to. ‘and must. see: security, the, Plaintiff requested ‘of Mental: Health;
to inform area sergeant of this matter and to investigate A-2-18 cell cable being cut, no”
reply and or relief.
76. Again Grievance was filed, letters sent to Superintendent David Rock, and Albany
requesting to be placed in to Protective Custody for the continued tamping with the
Plaintiff's cell Power and Cable, A correctional Sergeant Keith Hendry did come to the cell
and investigate this concern some days later, he checked the cable box and stated there was
nothing wrong, he took a T.V. from another cell that was working. and tried it in the ow
Plaintiff's cell it did not work 5. Sergeant: Henry went. nd got. a new Cable and. tried. tin
- the Plaintifé’ Ss. cell agai At. did a" ro :

 

 

 

 
 

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continued to verbally inform all’ staff working within and that passed through G-block that
G-1-6- is a RAT and a PIECE OF SHIT, because this Plaintiff continued to write grievances on
the unprofessional conduct and the continued beatings and Assaults being carried out against
the Plaintiff,

78. On February 20, 2008 all inmates where ordered out of there cells and forced to
stand in hall way as all officers along with JOHN _DOE #1 continued to stare at the Plaintiff
seeking to intimidate the Plaintiff who has filed complaints and grievances as well as
request of Criminal charged be filed for the beating of 1/31/2008, a letter was filed the
same day requesting PROTECTIVE CUSTODY, letter never responded to it was addressed to the
facility superintendent David Rock.

79. On March 6, 2008 again the Plaintiff was ordered out of his cell again alleging a
fire drill, upon returning some 30-40 minutes later the Plaintiffs cell was trashed, _
documents missing , and items broll m such as fan and type writer which cost $345. 00... Officer
“Baoan was * Fequested to. mapas to > but has refused, al. ‘communication wit the ;

    

 

 

80. ‘On March 17, 2008 a letter was written to John Rosati. do. ‘to. ) his éontinued ronduct..of .
calling the Plaintiff a Rat and informing all officers and irmates in area ‘the Plaintife is
a RAT, a copy of this letter was sent to all department. officials and watch dog agencies
requesting of John Rosati to have this Plaintiff moved do to the continued unprofessional
conduct and harassment, all letters where mailed a week before the one to John Rosati to
ensure the mail got out and all persons knew the concern of this Plaintiff.

81. On March 18, 2008 John Rosati did turn off the power to C-1-6 stating the Plaintiff
was 4 FUCKEN RAT and wants Protective Custody and that the Plaintiff was scared, John Rosati:
Stated if the plaintitt continues’ to write he is going ta need Protective Custody ‘real bad,

__ then: John Rosati. informed eli £ officer

 

 
  

 

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packed do to no power in cell for the past 4 days and|was moved to B-4-6 the same company
that is rm by Michael Paige the same officer whom ordered the Vigilente beating of January
31, 2008 because of his overnight harassment of deliberately banging on the gate of the

Plaintiff as the Plaintiff slept at night 2, 3, 4, in the morning.

_ 84. Upon going to chow March'22, 2008, 7:40 am Officer Scott Hamel and David Skellie
where talking, David Skellie is of C-block and works with John Rosati, Scott Hamel is of B-
Block, Scott Hamel stated to David Skellie, while pointing at the Plaintifé that's the one
from your block right ? David Skellie put up his fist as to say FUCK YOU, Scott Hamel
stated don't worry I got him now, I'll take care of the piece of shit, causing the
Plaintiff to live in continued fear, the new block is going to continue the Harassment
torture and Retaliation. .

85. On March 24, 2008 the Plaintiff was informed he was keep lock for reasons unknown.
86. On March 24,. 2008 about 6:15 pm the Plaintiff was let out for a shower at which time
the officer in the control bubble was. the officer Michael Paige and did give the middle a

ui
. :

aint ££ waved. to say thank you, ‘who is ‘the’ officer whom

 

 

 

 

 

© B7eC Plaintiff. received a misbehavior x report for the letter written, to John ce
Rosati on March: 17 2008, this report was filed in Retaliation and Reprisal to complaints
filed against John Rosati. ‘for his continued unprofessional conduct, this report had 5
charges of which were all lies and false, the one charge that the Plaintiff pled guilty
with an explanation was to the charges of Facility Correspondence Violation, the
harassment, False statement or information, threats, and stalking where all dismissed, John _
Rosati deliberately tried to add; additional charges to ensure the Plaintiff will be sent to
the box where they could justify, the harm they wanted to commit against the Plaintiff, this.

    
 
      

was the. ‘first fair hearing the Plaintifé has ever received in the past 7 years. Bs

88. 8. The Plaintift Was: given a:

 

 

  

callout March 27, 2008 to the hearing rooth for what ‘ais: sig my,

 

 
 
 

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upon being returned to the cell/officer informed the control bubble the Plaintiff was
Ratting to 1.G. whe is the Inspector General of New York State Department cf Correctiongi
Services and who investigates staff abuse and unprofessional conduct which is usually found
without merit, DOCS can not Policy it's self and will not policy it's own.

90. On March 28, 2008 the hearing was conducted and upon returming to the cell the
officer Smitty was doing showers, he did 2,3,4,1,5,7, and refused to give 6 cell a shower
which was the Plaintiff, the Plaintiff asked if he could have a shower and the. officers
stated if 1 get to you I do and;if not ch well, Plaintiff never got a shower which started
again the Harassment Retaliation ard Reprisal of officers within B-block area de to properly
filed complaints and Grievances.

91. The Plaintiff noticed a change of mail pattern and all incoming mail stopped,
letters which were sent with pictures never received, letters from family and friends which
where stated to have been- mailed. agai were not received, during the months of March, and

   

   

second call the following re cay pevdtiectived, the 9 ner stated You want to > quote
directives you just wont get your mail you "al see, ‘the Plaintiff has been denied legal mail
May 1, 2008, May 7,2008, May 12, 2008, May 13, 2008 and possibly other days unknown , this ne
doubt has effected the Plaintiffi's legal cases in State and Federal Court, again this
conduct is due to Michael Paige who is the Control bubble officer for Beblock and has
continued te use any and all staff to Harass, Harm, Intimidate Retaliate and tamper with
incoming mail legal and non-legal against this Plaintiff for filing of complaint.

93, On May 20, 2008 about 2200 : pm the Plaintiff Was called to the B-Block area desk at
Which time the Plaintiff was inflormed he. had to ‘report to Grievance office to speak with |

 

 

 

 
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‘

of that area, this use of Authority to intimidate inmates to withdraw grievances and protect
officers who are committing crimes within this facility is common and condoned by all levels
of facility Administration, so why is Michael Paige continuously being protected by

Sergeants and Officers who are willing to commit criminal acts on behalf and by direction of

Michael Paige.

DENTAL ACCESS TO COMMISSARY, RETALIATION, THREATS, HARASSMENT,
CONSPTRACY, RACKETEFR INFLUENCE AND CORRUPT ORGANIZATION

94. On September 4, 2007 a grievances was filed do to net receiving commissary sheet and
believed it to be retaliation to complaint of not receiving items paid for, grievance ‘Was
denied. .

95. On November 29, » 2007 a 1 grievances: was. filed. for, not being alloved to go. ‘to

    

he » youl bring’ it to che Plaintife ; “when he returned there were only 5 stamps “this was again
believed to be retaliation by officers, a grievances was filed and the requested items where
later given to the Plaintiff, grievances filed was denied actions requested, and stating the

denial was unintentional error. .
97. On March 3, 2008 the Plaintiff was in his cell when an inmate approached him
directing him to not to file any more complaints against commissary area and if the
‘Plaintiff. had anyother’ issues . cone to him. first and: did the Plaintiff. understand. this was.
‘stated in‘a. threatening 1m manner: , apd seeking to “intimidate the Plaintife » but this: was

    

 

 

 
    
 
  
   
 
 
 
 
 
   
   
 
 
 
 
 
     
   

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1

Bellamy director of Inmate Grievance Program, Stating the Commissioner Brian Fischer
referred the letter to her for 4 response, she stated no grievance was received by facility
Inmate Grievance Clerk, and stated the Plaintiff is directed to address his concerns to
Inmate Grievance Program (IGP) Supervisor, also stated INMATE GRIEVANCE PROGRAM provides
inmates with a orderly, fair simple and expeditious method of resolving grievances, and
stated they will not retain a capy and the Plaintiff must submit grievances and appeals
directly to the IRCG Clerk, thig letter was not a grievance, and only informing other
agencies of the ongoing harassment and threats ordered and directed by facility staff, and
the grievances was filed but got destroyed by the grievance supervisor and area sergeant
whom have been seen destroying numerous grievances against staff and of which have been
continuously addressed, so one lie to protect another, the orderly, fair, simple,
expeditious method is to destroy, the grievance, or beat the inmate ° uP and force him

    

FILING OF FALSE INFORMATION. BY 1 FOUL. "OFFICER,
INTERFERENCE WITH FORMAL: INVESTIGATION, BREACH OF. SWORN DUTY,
CONSPIRACY, RACKETEER INFLUENCE AND CORRUPT ORGANIZATION.

99. On February 4, 2008 a FOIL request was submitted requesting the names of staff who
did VIGLANTE GANG ASSAULT thi Plaintiff and aided in the commission of this criminal act, as
well as the name of the officer who sanctioned the beating who is now know as Michael Paige.

100. On February 25, 2008 again a FOIL request. was filed | requesting . the. names of staff |
and log book entry of the Plaintifé; being. taken out of. his. cell. the night of. f. January 3h,
. 2008. and: d beaten up for the filin 4 i. Paige 1 i

 

 

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‘! qe nt Bi

102, 0n rebruary 28), 2008. the Flaintf receive aclowleinet of Se
 

ko. I ELE_—~EFEOOOOE
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Following (1) THIS WILL ACKNOWLEDGE RECEIPT OF YOUR "FOIL" REQUEST IN THIS OFFICE ON:

3/3/08; (2) YOUR "FOIL" REQUEST HAS BEEN DENIED PURSUANT TO THE PUBLIC OFFICER's LAW/FREEDOM
OF INFORMATION LAW WITH THE SPECIFIC SECTION OR THE REASON: FOR DENIAL CITED BELOW (g) NO
SUCH RECORD EXISTS: NO LOG ENTRY FOR A-2-18 FROM 7:30- 8:pm ON 1/31/08 OR ESCORTED OUT OF
CELL; (7) the appeals process.

104. On 3/7/2008 a foil response was filed and the Plaintiff was informed to see
attached memo from staffing regarding the request of 2/29/2008 of Officers Full Names, all
the names where deliberately changed to cover up the names ef staff whom committed the
VIGILANTE GANG ASSAULT the night of January 31, 2008 7:30 pm ordered by Michael Paige
carried out by Andrew Frazier, John Doe johm Doe #1 and John Doe #2.

105. On 3/17/2008 a foil response was filed, the Plaintiff was seeking the commissary
sheet ‘do to denial of access to commissary by officers,

stating this commissary buy sheet of _
- 2/13/2008 3 is 50¢ of which was sent to FOIL office and th

e Plaintiff never received any °
is. the contniued pattern of Foil officer, either refusing’ to. Process request.

  
 

 

 
   
    
   

  

 

FOI ee was Filed t to MEDICAL, department seeking informations on ‘the day of, Februar y
. 1, “2008 which would support the Vigilante Gang, Assault of 1/31/2008, this response stated:
MEDICAL EXAM RM LOG BOOK FOR 2/1/08. oe

107. On April 2, 2008 another response from FOIL officer was filed, The Plaintiff now
was in receipt of FOIL OFFICER Stating there is one page of A-block log for 1/31/2008 and

requested 23¢, this must be a false entry because all staff and the officer himself stated
there was no entry made this day and time,

_ GERAL ane pictures of injuries.)

   
 

is this now do to the investigation md ANSPECTOR.

 

 

. 108. On April. 3; 2008 a letter was filed by Geonge . A. Glassanos Deputy | counsel of the

 

   

he ve nee “he

ste as to ‘te. names ‘0! of biti

 
             
 
   

% roe ae cE
“You ‘REQUESTED WERE ‘PROVIDED 10 ‘You, ‘Your APPEAL. Is DENIED: IN: AOCORDAN

he | states. ‘no documents : exist, but FOIL officer. hist informed the: Plaintis
they ‘don't hen: they-\ J =

     

 
 

 

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officer and to date no documents, received.

110. On April 9, 2008.a response was sent to Deputy Counsel George A. Glassanos of The
New York State Department of Correctional Services informing him the Plaintiff see's the
coverup and his response was andi is a Lie.

111. On April 25, 2008 the Plaintiff filed a request for copies of law libary request
for supply's and books as the Plaintiff was being denied access to copies and requested
forms law libary stated in the grievance these forms where never requested, copies of supply
request whould show there were, also the names of all officer's working January 31, 2008
seeking to find the names of all defendants whom committed the VIGILANTE GANG ASSAULT and
who ordered the same which is all now known.

. 112. On April 30, 2008° the Fe TL..OFFICER filed this response to the Plaintiff (1)

RE: if2and #3 of. your requests: names of of. G 0. 8 3 5 (20g) #4 no such log of every. employee who
{ you have no spendable money to purchase _

   

   

‘specific. date; apt

but this was used to deny the -P Tintlds cooene. to: this information to ensure there could be
no supporting document in the grievances against law library office whom had deliberately
lied and now had contacted FOIL officer to make sure these documents did not get produced,
why. was the account checked that day when the request was made five (5) day
prior...Conspiracy and cover up, by Kathy White.

113. On May 1, 2008 the Plaintiff filed a request for Foil of legal mail log book entry
do to officers refusing to give the Plaintiff his legal mail, the Plaintiff is on the Fourth
: floor and has a bad back wich has een reinjured two time by. assaults from ‘staff and. in

». fear of night shift officers who:

 

kes oe to. ‘bring het mac to

hel

Plaintift and! claims he is etuniing the mail to, Sere s when in \ fact directive

 

 
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legal mail log 5/1/08 & 5/7/08,

115. Kathy White Foil Officer filed a response on 5/15/2008 for legal mail log 5/12/2008
5/13/2008 5/14/2008.

116. On 5/15/2008 Kathy White filed a response as to the names of staff to the Plaintiff
which was only the acknowledgment.

117. On 5/20/2008 Kathy Whit White now Filed a response to the Plaintiff stating which door
was the the Plaintiff seeking the name of area sergeant again stall tactic being used to
deny this Plaintiff access to the names of officers and staff who are responsible for the
VIGILANTE GANG ASSAULT and continued harassment and retaliation against this Plaintiff.

BREACH OF DUTY BY GRIEVANCE SUPERVISOR.
wa RETALIATION, AND REPRISAL,

     

. GRIMENATION BY
; IMATE GRIEVANCE PROGRAM, 43-349-07 pertaining to dismissed grievances this ‘grievances as

well | was ‘dismissed to protect. staff's wrongful conduct and cover up.

. 119. On July 23, 2007 a grievances was again submitted TITLE : DENIAL TO PROCESS HEARING
AGAINST STAFF, here IGRC was choosing which grievances they wanted to hear any grievances
against key staff and or areas of importance are dismissed other common issues are heard, so
why was some heard and another dismissed the same day,

120. The Plaintiff wrote a letter on August 22, 2007. to Karen Bellamy Director of Inmate
Grievance. ‘Program about the ongoing conduct of Brandi White and: ‘staff, the: Plaintife |
: “explained | ‘all. the tssue: — “

e another letter. to ‘BRANDI: WHITE: IGP Supervisor,
“THREA S. UNPROFIESS GNA. CONBUCE ‘AND HARASSMENT, ON 9/24/2007 | the: letter: wa returned

 

 

 
 

 

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DEPARTMENTS THIS IS A PROGRAM SET UP TO HELP INMATES WITH PROBLEMS IF YOU WILL NOT TALK TO
US OR COME TO ANY HEARINGS, IT BEQOMES IMPOSSIBLE FOR ICRC TO HELP YOU. UNQUOTE" there is no
help from.the conduct of staff, no grievance filed has ever been granted to this Plaintiff
and no action requested has been resporded to the grievance system does not work against
staff's unprofessional conduct and facilities unconstitutional policys fact.

123. The Plaintiff filed a grievance TITLED: HARASSMENT REPRISAL AND CODE OF ETHICS
VIOLATIONS TO GRIEVANCE POLICY AND DIRECTIVE 4040, BY BRANDI WHITE, SGT. WILLIAMS ,
CHATRPERSON, CLERKS, REPS AND ALTERNATE REPS. This grievance was denied and dismi dismissed.

124. The Plaintiff wrote a letter with a complaint about the conduct of INMATE GRIEVANCE
PROGRAM, no response received.

125. The Plaintiff wrote a FORMAL COMPLAINT dated November 15, 2007 to 9 the
superintendent DAVID ROCK no reply recived.

126. The Plaintiff wrote a ar jevance dated November 19, 2007 ‘TYTLED : ..GéLevance -
Procedure and + Policy, denied and. a. Hemesed.

 

 
   
 
     
 

: always making ‘it seem. the Plain ff pes) at
have the last word they are always right. and staff is never wrong. :
128. On December 1, 2007 a letter 3 was: ~weitten by PAUL VANGUTLDER Deputy Superintendent
of Security stating he was responding, for the superintendent on the allegations of .
harassment and threats by IGRC STAFF and do to a grievance filed 44-360-07 on the same issue

he was not going to investigate but allow the grievance to be the investigation, how can the
facility grievance staff investigate it's own unprofessional conduct.

129. On December 14, 2007 a letter was written to BRANDI WHITE about the grievance 44-
360-07 of which the Plaintiff did. ‘not know Which complaint was given that number do to the.

facility not returning the griev. apes it it’ 8. a. code ¢ 49 and or being reviewed by the eed Sales
superintendents office, Eis. completed 3

 

   

   

when- in £

   

 

1313, on January 16, “2008

grievance 44-360-07 stating ‘that

 

 
 

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132. The Plaintiff did on January 31, 2008 write a grievance on staff's continued
conduct TITLED CONTINUED HARASSMENT AND DISREGARD FOR GRIEVANCE POLICY AND PROCEDURES BY
GRIEVANCE STAFF, JOHN JUSTICE CHATRPERSON AND SGT. WILLIAMS, grievance denied and dismissed.

133. The Plaintiff wrote a grievance on March 4, 2008 about mail pick up from C-block,
again the grievance staff deliberately withheld this grievance for over 30 days and never
requested any extension in violation of directived 4040, and this grievance stated all mail
to be come missing incoming and out going according to family. |

134. CENTRAL, OFFICE REVIEW COMMITTEE KAREN BELLEMY GRIEVANCE 44-741-08 dated 3/5/08 was
unanimously denied.

“135. CENTRAL OFFICE REVIEW COMMITTEE CHRIS LINDQUIST responded to grievance GM-44- “953-
08 code 1/49 date filed 2/6/2008 date responsed to 4/2/08 TITLE : HARASSED/MOVED TO
_ PROTECTIVE CUSTODY, The response is as follows in full: GRIEVANT'S REQUEST UNANIMOUSLY
. DENTED WITH CLARIFICATION, UPON FULL HEARING OF THE FACTS AND CIRCUMSTANCES IN THE INSTANT.

‘ Ey THE AC ACTION REQUESTED. Is HEREBY I ENTED ‘WITH CLARIFICATION. CORE, UPHOLDS. THE

     
   

“EVIDENCE TO SUBSTANTIATE THAT HE HAS BEEN THE VICTOM OF HARASSMENT.
— CORC NOTES THAT: SERGEANT H... STATES THAT NO TAMPERING WAS FOUND TO THE GRIEVANE'S:T.V. *
CABLE CONNECTION, BUT THAT THERE WAS A PROBLEM WITH TELEVISION RECEPTION. CORC ALSO NOTES
THAT APPROPRIATE ACTION WAS TAKEN BY STAFF TO HAVE THE CABLE CONNECTION REPAIRED. IT IS ALSO
TOLD THAT THE GRIEVANT WAS MOVED. TO'A DIFFERENT CELL WHILE AWAITING REPAIRS TO THE CABLE.
CORC FURTHER NOTES THAT tATNTENAICE INDICATES THAT THE PROBLEM HAS BEEN RESOLVED AND THE
SYSTEM OPERATIONAL. }
CORG ASSERTS THAT NO INMATE HAS THE RIGHT TO A SPECIFIC HOUSING. LOCATION... conc ADVISES THE.
. GRIEVANT TO ADDRESS ANY CONCERNS REGARDING HIS REQUEST FOR PROTECTIVE cusTODY TO THE. AREA -

 

 

 

 

 
  

 

 

 

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for a grievance filed against staff of A-block,

Fact 2. officers and all staff area directed to lie and deny any wrong doing by Albany's
direction,

Fact 3. if the cable only needed repair why was the Plaintiff relocated to the other side of
the prison from A-block to C-bleck, and if the Plaintiff was moved only for repair why was
he not returned to that cell once it was fixed... because the Plaintiff was moved te cover
up the beating and hind the faces of officers who committed the acts whom all worked in A
and B-blocks.

Fact 4. how can an inmate not be entitled to PROTECTIVE CUSTODY when he is being beaten and
assaulted by persons/ inmates and or staff,

Fact 5. area supervisors, deputy of security, superintendent, CORC, inmate grievance
program, Albany Commissioner‘ Brian jan Fischer all have personal knowledge of this continued
request: for~protectived: custody and refuse to protect this Plaintiff from staff. .
Fact: 6, Correctional Counselor. refuses to:assist the Plaintiff and thas denied all request

as

    

  

‘again shows they: do not. ‘worry abpat. any outside agency stopping what they want to do and or
do what they want without concern of law, statute, constitutional rights of this Plaintiff
which are clearly violated.
Fact 3. the appeals statement only responded to the grievance response which was not
appealable thus the Plaintiff was forced to wait for the superintendents response for a
correction to the lies filed but CORC CHRIS LINDQUIST stated it was an issue for another
grievances seeking to keep this Plaintiff chasing the wind, this is corruption from top to
bottom and: ‘ho: relief anyvhere t this: a wy this is in federal court to Prove these crimes are”
taking place, i

. a eaten’ gr evant ©
© notte 7 oF meitican teips, a i Gd

 

 

 
 

 

 

 

 

 
 

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ready, the Plaintiff was woken wp and directed to leave right there, not given any meal, and
this was sanctioned by Defendant A. Harris and Michael Paige who was waiting for the
Plaintiff upon return and harassed the Plaintiff verbally, the Plaintiff has never used the
grievance program for any thing other then to seek the corrections to violations of policys
rules being violated, assault's by staff and continued denial to rights per facility and
state policys of which once it is addressed to area of question the only other venue is the
Inmate Grievance Program which is run and operated by correctional staff officers and
exofficers which the outcome always is in the favor of the facility and it's employees.

137. On April 8, 2008 a letter was filed to Brandi White about a missing grievance
TITLED : MAIL PICK UP FROM C-Block area, which in fact. was submitted on March 4, 2008, a
response was received on that same letter stating ; GM; 45,. 249-08 the hearing will be within
the next week, signed TERC, with out any request for extension and Or following procedures
of Directive 4040 . his. ¢ Ls

  

WAS CONSOLIDATED THEREFORE A HEARING WAS HELD ON THE ‘carevanee. 1 TE ‘GRIEVANT WAS NOT PRESEN
ATI THE HEARING, BUT OTHER GRIEVANTS WITH THE SAME CONCERN WERE PRESENT. THE GRIEVANT WAS
NEVER PRESENT IN THE TERC OFFICE, THEREFORE HE HAD NO CONTACT WITH THE GRIEVANCE CLERKS OR
REPRESENTATIVES, UNQUOTE" this response made no sense to the grievant it does not explain

any issue and or alleged facts off the grievance, and the response was two month later which
again violated the directived 4040 policy, if the other inmates were present at the hearing
should not the Plaintiff have received a copy of that hearing and. allowed to appeal that -
_vesponse, this response can not be responded . to because, there is no indication what the

. complaint. was. about: and: ‘no way to _ track this: grievance flown again : a 2 COVEFUP by Brandi White .

wy Foe

 

 

 
 

   

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THE REASON STATED.
CORC NOTES THAT THE GRIEVANT'S KEEPLOCK STATUS PRECLUDED HIM FROM ATTENDING THE 1/3/2008

HEARING FOR GM-44~857-08, WHICH WAS CONSOLIDATION OF THREE COMPLAINTS. HOWEVER, IN

ACCORDANCE WITH DIRECTIVE # 4040, SECTION 701.5(a)(3) THE TWO OTHER GRIEVANIS ATTENDED THE

HEARING AS HIS SPOKEPERSON. |

FURTHER CORC NOTES THAT THE GRIEVANT RECEIVED A RESPONSE TO EACH LEVEL OF THE GRIEVANCE AND |

WAS AFFORDED THE OPPORTUNITY TO APPEAL.

CONTRARY TO THE GRIEVANTS ASSERTIONS GM-44-857-08 WAS PROPERLY CONSOLIDATED AS A LIKE

GRIEVANCE IN ACCORDANCE WITH DIRECTIVED 4040. ADDITIONALLY CORC HAS NOT BEEN PRESENTED WITH
SUFFICIENT EVIDENCE TO SUBSTANTIATE ANY MALFEASANCE BY STAFF. | )
CORC NOTES THAT DIRECTIVED 4040 SECTION 701.1, STATES IN PART THAT THE GRIEVANCE PROGRAM IS.

NOT INTENDED TO SUPPORT AN ADVERSARY PROCESS. UNQ " _ ae
These documents are full of false and, misleading, infomation to cover up. the: delibera a

 

being beaten up ‘for these grievances being filed so why would any prisoner file false
grievances if he knows he is going to get beaten, harassed and threaten, because these

grievances are the TRUTH, CHRIS LINDQUIST has just ‘filed with the New York State Department
Of Correctional Services a False statement and Report to an investigation to cover up the
continued unprofessional conduct of Correctional Staf£ with the sole purpose of protecting
all staff at any cost, with no regard for the laws and no regard for the. Inmate Grievance
Program which 3 is a JOKE ancl 1 does, n not work. for any one because the state never takes, ae

"General, to ‘stand oe oe

aos aw

 

 
 

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- Court deliberately underminded the issues and granted the dismissal under other reasons

_hever properly reviewing any ispue raised by the Plaintiff, To seek and fight and appeal

“would have been a waste of time; because these Courts are only seeing one document those of
the Attorney General, and the Judge is not signing any document with a clear Signature
which is believed not to be the Judge but signed by any one hoping it would net be noticed,
The Courts are allowing Clerks to process, review, make the motion, and sign the motion, the
clerks are working hand and hand with the Attorney General of which together all motions are
denied and no inmate nor this Plaintiff can stand against such a Corrput Organization, So
Article 78 Index # 11573, File No. 149-2007 Gillard v. White et al. was denied and staff
again protected by the Courts, the Clerk of the court, the Judges of the Courts and all
agencies connected to the Courts the Employee of New York State Departmént of Correctional
Services are allowed to do what ever they want because they know all Court are going to file
false motions signed by the Clerk to protect them, it's all conspiracy, Racketeer Influence

 
         
   

       
  

  
  

 
 

TION BY. LAW LIBARY OFFICER™

LIBRARY STAFF D0, 'TO. GRIEVANCE" S FILED —
BREACH OF DUTY, FILING FALSE STATEMENTS, CONSPIRACY, ©
RACKETEER INFLUENCE AND CORRUPT ORGANIZATION -

   

 

141. The Plaintiff in JUne 23, 2007 requested Keep lock supply's do to being denied
access to all forms and envelopes do to the unprofessional conduct and total disregard for
the policy by officers within Great Meadow Correctional Faciulity, all request where denied
and not received. | re ee :

142. The Plaintiff again Filed a letter to Law Library requesting legal supply's and _
directives to review, the date wv oni 92 cE tae, a woe we a

   

     

   

 

 

 
 

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and justification of why the Plaintiff was allegedly denied access.

145. The Plaintiff submitted & grievance on October 29, 2007 it was filed on 11/5/2007
some 7 days later for the continued denial access to legal copies, On 11/16/2007 the hearing
was held and denied with the blame being directed to the conduct of Grievant, the grievant
was not allowed to attend the hearing nor was any call out given for that date 11/16/2007 do
to the incident of 11/15/2007 9:30 am when in fact two inmates of the Inmate Grievance
Program did cause an unwarranted incident of which the area Sergeant Darin Williams watched
and laughted as one inmate Threatened this Plaintiff which was a set up, no supervisor was
there only the sergeant and the inmates did seek to create this trouble do to the fact the
Plaintiff was asking who was in charges and allowing the procedures to be deliberately
violated, the grievant left the area on his om with out misbehavior report being filed but.
later | was “stated the Plaintiff Was ordered out of the area for creating an incident which
was’ a lie’ to cover uP ‘the complaint filed by the Plaintiff. 7:

       

 

othe sbursement comms was withheld for weeks and and the Plaintifé ee he missing. .
“funds which. He believed was taken out for copies, complaint was denied but advance copies ee
was granted of which in fact was jnot needed do to money in account or was used but paid fore
as money was in account. '

147, The Plaintiff filed a letter 11/30/2008 to Karen Lapolt in response to her response
recived 11/29/2007, of which she granted access to legal copies but the law library officer
Stated did not receive a copy of ‘that approval which appeared to be strange.

148. “On February 21, 2008 the Plaintiff received a INTERDEPARTMENTAL COMMUNICATION ‘£rom..

Karen Lapolt subject LAW LIBRARY ACCESS, with attached documents from Ge Poirier. law.

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thes Sea aiene to ia Libel nd" Tegal:

    

 

 

 
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Lapolt, Dated March 31, 2008, no, response received.
150. On April 4, 2008 the Plaintiff submitted a grievance with a copy of the letter to
Karen Lapolt, grievance was denied and stated QUOTE: ACCORDING TO INVESTIGATION CONDUCTED BY
IGRC SUPERVISOR MS. WHITE DSP. LAPOLT AND C.0. POIRIER OF THE LAW LIBRARY BOTH ASSERT THAT
THEY HAVE NOT RECEIVED ANY ADVANCE REQUEST FOR LEGAL COPIES THEREFORE THIS GRIEVANCE IS
DENTED UNQUOTE this is a lie and in fact the Plaintiff requested under FOIL the copies of
all legal supplies requested which would show the request for advance disbursement forms te
law library area of which again was denied alleging there was no funds in the ACCOUNT of the
Plaintiff, in fact this was to ensure these documents which would have a stamp from Law
Library could not be preducted as evidence to suppert this and other grievances filed by
_this Plaintiff. Brandi Whi. e. AGP Supervisor investigated and Rarin Williams sergeant held
- the hearing, and together. they, den vied the. facts Properly submitted for review, and mail was

   

. JTSBURSEMENT’ FORNS. This grievances was numbered
aM # 45, 541-08 date filed 4/11/2008. On" /2/2 O§ hearing response from Inmate Grievance
Resolution Committee is as follows: THIS GRIEVANCE HAS BEEN GRANTED TO THE EXTENT THAT
ACCORDING TO CO. POIRIER, LAW LIBRARY SUPERVISOR, GRIEVANT HAS BEEN AFFORDED ALL SERVICES -

DUE TO HIM UNDER KEEP-LOCK STATUS. ALL REQUESTED SUPPLIES HAVE BEEN FORWARDED TO GRIEVANT ON
APRIL 18, 2008, ACCORDING TO POLICY AND PROCEDURE GRIEVANT MUST SEEK PRIOR APPROVAL FROM
DSP, LAPOLT, FOR ADVANCEMENT FOR. COPIES WHEN THERE ARE NO FUNDS IN HIS ACCOUNT. The

Plaintife ¢ did file the proper request in review of #150. it was stated the request was ever
received ? Now in this grievance. it’ is. stated the Plain tite did receive the requested _ |
__ Supplies and legal books on Apri, 184 3008 which | is a ie > the grievance it t clearly stated oa.

      

    

 
  

   

 

 
 

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still had a outstanding copy bill of $3.75 from April 29, 2008, this is the same conduct
from the past grievances denying the Plaintiff copies is CO. C. Poirier's way to get back
for the filing of grievances, this Plaintiff has received money continuously every month, So
this conduct is retaliation and reprisal and no other callouts have been received, The
Plaintiff has been stopped from using the Law Library do to griévances and complaints.
153. The Plaintiff received a response from the superintendent DAVID ROCK on #45, 509-
08, TITLE: Advance Copies, date May 5, 2008 and it stated: QUOTE" AT THE TIME THIS GRIEVANCE
WAS FILED, REQUESTS FOR ADVANCE LEGAL COPIES WERE NOT MADE BY THE GRIEVANT TO EITHER THE
DEPUTY SUPERINTENDENT OF PROGRAMS OR THE LAW LIBRARY OFFICER. THE IGRC CANNOT MAKE:
ADVANCEMENT FOR LEGAL COPIES. THIS ck , Appealed to Albany CORC.
154. The Plaintiff received |
Denial of Legal Supplies, date
4-1-2008 WHEN HIS FIRST LEGAL: SUB

  
 
  
    

    
     
    
  
   
 

   
 

    

     

 

 

Sr ee EEN EE RS “ is OTHER” ee PO ak OURS Wate LE
statement contradicts | the statement ficom the IGRC and sergeant  DARIN-WILLTAMS

which stated the grievant was afforded all services due him and never stated the clerk |

inadvertently forgot to give the inmate a request for disbursement... 80 one lie to cover
another lie to justify not giving the legal supplies requested what proof. will be seen to
support these lies there are now two alleged facts plus the claim of the Plaintiff this act
was deliberate and in retaliation and conspiracy, and breach of duty as well as denial
access to the Courts, this was appealed to CORC of Albany. . |

155. On May 24, 2008 the Plaintiff-again submitted a Law Library request form to:be

    

 

placed ona Rotation for. 12+ | seallout. only to date no..callout: has ‘beer “received, which /
_is. again: believed: to:be deli Land Retaliation’ do:to: grievances file Reprisal

 
  

     
  

     
  

   

     
   

 

    

 

 
 

 

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BREACH OF DUTY BY OFFICIALS
PROSECUTOREAL DISCRETION AND SELECTIVE PROSECUTION,
DENIAL TO INVESTIGATE, STOP AND CORRECT RETALIATION,
REFUSAL TO PERFORM SWORN OATH OF OFFICIAL DUTTES
AIDING AND ABETTING CRIMINAL CONDUCT, VIGILANTE GANG ASSAULT,
MAIL THEET, PACKAGE THEFT, HARASSMENT, ASSAULT,
RETALIATION, REPRISAL, TORTURE MENTALLY AND PHYSICALLY
CONSPIRACY, FILING OF FALSE DOCUMENTS AND REPORTS
RACKETEER INFLUENCE AND CORRUPT ORGANIZATION BY FEDERAL,
STATE AND COUNTY OFFICIALS AND ALL NAMED AGENTS NAMED HEREIN,
UNDER 18 U.S.C. Sect. 1961

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156. On July 18, 2007 the Plaintiff filed a formal complaint to Brian. 1 Fischer,
. commissioner of New York State Department of Correctional Services =:
ied officer: SEAN CORRIGAN, who. not oooh began the Harassment and cha

  
   

157. On July 20, 2007 a letter of. coneern and request for help was filed to Mr. J.L.

Aubry , N.Y.S. Assemblyman, Chairman of Committee on Crime and Corrections, to date no
reply.

 

158. on July 23 2007 a formal complaint was filed to Superintendent of Great Meadow
Correctional Facility D. D, Lagair,; requesting the removal from this prison in concern of the
continued threats by staff and. Sergeants of physical harm, TO reply.

159. On July 26, 2007 a letter was. sent. to, the Plaintife from Lucien Je. ‘Leclaire Jee 7
Deputy. Commissioner stating. QUOTE,

    

 

agreement with ‘the. “superintendent's
Review Comnitt tee din. accordance W

 

 
 

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records of power reconnectionb, no inmates are interviewed and the Plaintiff is threatened
by staff. The officials refusing to Order thgis conduct to stop and return the complaint to
the facility who will not police them self nor will they charge any of there co-workers 7
with any crime but in fact cover up, file false reports, and make false statements Ordered
by Brain Fischer and the staff of NEW YORK STATE DEPARTMENT OF CORRECTIONAL SERVICES of
which this Plaintiff has written documents to prove this fact.

160. On July 27, 2007 the Plaintiff filed another letters to Brian Fischer for the
continued harassment intimidation . threats and unprofessional conduct of officer and
sergeants, denial of meals and power being turned off.

161. July 27, 2007 the Plaintiff did hand write a 5 page ‘letter to Brian Fischer of New

. York State Department of Correstional Services for harassment, retaliation, reprisal,
‘intinidation, threats, deliberate unprofessional conduct, denial of chow lunch and diner.
162. on July 28, 2007 the Plaintiff filed a letter to Richard Roy, Inspector General of |
Nes rtment, of. Correctional Services again Fequesting, help to the: Sreoing. abuse and:

 

  
   

= the ongoing abuse and assavltive conduct by staff. oO, oe
164. On August 15, 2007 the Plaintiff recived a letter from Defendant KAREN “BELLAMY who
‘stated again the commissioner asked her to respond to Plaintiff's letter dated July 27,
2007 regarding Inmate Grievance Program, also contact with facility administration indicted
that the IGRC clerk has not recived a July 27, grievance from the Plaintiff regarding
harassment by a sergeant. and further advising the Plaintiff to address all concerns to.
INMATE GRIEVANCE PROGRAM SUPERVISOR who in fact is the one - covering up For. the staff" Ss... -
- ‘criminal ‘conduct and defendant | BRANDI WHITE. |

eae Ss Office of, New: York State Department. of. Correctional Services

a “the. addréss, of £1220 Washington ‘Ave. Albany », New ‘York. 12226 criminal.

 

 
 

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|

defendants and agencies for the deliberate criminal acts.

166. August 23, 2007 the Plaintiff did file a letter requesting the status of the Felony
Complaint as well as the filing munber of this felony complaint as was documented by the
Washington Coumty District Attorney's Office, of 383) | Broadway , Building A., Fort Edward,
New York 12828, addressed to Kevin Kortright, ‘Distrigt Attorney. Certified mail no. 7004-
1160-0003-3381-6777 in question was in fact a felony complaint.

167. On August 23, 2007 the Plaintiff sent a letter to the New York State Policy
requesting the status of the felony complaint mailed certified mail on July 20, 2008,
certified mail number, 7004~1160-0003-3381-6760.

168. On September 5, 2007 a grievance was filed by the Plaintiff against staff, for
Harassment, Threats and Deliberate destruction of cell.

. 169. On. September 6, 2007 the. Plaintiff filed a FORMAL COMPLAINT with. the Superintendent
of. Great. Meadow Correctional Fapility,. with < a copy sant to PATRICK VANGUILDER Deputy
superintendent, of, Security, : Ri

    
 

  

  
  

_ by cotrectional staff ‘in écmm oo 7

170. On September 6, 2007. the Plaintiff filed a Formal Complaint of harassment,
unprofessional conduct and destruction of cell legal documents over 20.000 Pg. to the
Superintendent, and the Deputy ef Security Patrick Vanguilder.

171. On September 12, 2007 a letter was dated from Capt 5. Rowe addressing the complaint
of the Plaintiff which was harassment by staff and power to cell being turned off. alleging
it was investigated by Sergeant Hendry and all allegations are unsubstantiated at this

time. like always. no staff is ever found to have committed any wrong.
. ~~ 472.-0n September 17, “2007; a letter was filed by P. Vanguilder Deputy superintendent of.
. Security stating that, the letter wkiressed fe his office was | Forwarded. to Captain Eastman

 

    

     

 

 

 
 

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of the complaint that the Plaintite was assaulted by officer before he was brought to the
interview room.

174. On September 17, 2007 a PORMAL COMPLAINT was written to the New Superintendent De
Rock, again the Plaintiff explained of the Assault, Harassment, Retaliation and Threats.

i75. The Plaintiff again Filed a letter dated 9/17/2007 to the New. York State Policy
requesting criminal charges be ‘filed against correctional staff for assault and beating by
officer against this Plaintiff. This was mailed certified mail no. 7004-1350-0002-5750~
2863.

176. Cn September 17, 2007 the Plaintiff again filed a letter to the Commissioner of New
York State Department of Corregtional Services, for the assault by staff, denied emergence
medical attention requested seven times.

177. The Plaintiff filed a letter to the. Governor Eliot L. Spitzer, certified mail no.
7006~3450-0000- 1746- “Os “Teg. ae ing. charges. £ filed against staff for the beating and —

 

PERTINENT INDIVIDUALS. THE “INVESTIGATING SUPERVISOR REPORTS THAT X YOU. WERE LESS THAN
COOPERATIVE WITH THE INTERVIEW PROCESS." In fact this was stated because the Plaintiff
refused to go to an area of the prison when no inmates where out of there cell, and they
refuse to document any inmate out of there cell going to interview so when the inmate is
beaten up there is no records in log bocks that state the inmate was in fact at such
interview at such time, this is a common method used to beat and intimidate prisoners who
7 file complaints of staff abuse and. assaults. This letter was: again a cover up and
a justification to the wrongful acts: committed. by staffh oo

 

 

 
 

 

 

 

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State Department of Correctional Services by the Plaintiff again subject of assault
robbery harassment threats andi retaliation, theft of package room items and comments that
baby rapers are lucky to get what we give them, and $35.00 dollars of food was stolen..
this Plaintiff was called out by sergeant Sabo and informed if the Plaintiff did net with
draw he would not be walking out of the room.

181. September 26, 2007 a letter was Filed by Karen Bellamy director of Inmate Grievance
Program, stating that the Grievance GM-43349-07, regarding dismissed grievances and stated
_it was responded to by the Superintendent on July 30, 2007 but no appeal was received by
the Plaintiff, and further was directed to address all issues to IGP Supervisor...The IGP
supervisor Brandi White defendgnt in this action is one of the persons deliberate
destroying documents and tampering with grievance process to protect staff anf cover uP all
grievances filed against staff, and is the same person ‘responding and writing: all *
superintendent's responses and appeals, so her we have one person controlling what i
and | heard, written. and deleted. fe grievances and there. esp

 

   
 

 

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search, packages and your aden: to. press criminal charges against staff at Great Meadow
Correctional Facility. Your letter. was sent to facility officials for investigation, who
report you have filed grievances #GM~-43862-07 and #GM-43848-07 regarding these issues. This
is the proper avenue for you to: pursue to address your concerns. Grievance #GM-43862-07 was
investigated and denied by the superintendent on September 26, 2007, who reported the
investiagtion did not praduce any additional information, evidence or witnesses to.
substantiate your allegations. Grievance #GM-43848-07 is currently under investigation and -
the superintendent will L respond Ou § once the! inves gation has been completed. If you

 

 

 

 
 

 

 

 

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eny grievance filed ageinst staff as will be proven all grievances with all supper ting
documents ard evidence have beer and continue to be denied to cover up the wrongful conduct
of staff within Great Meadow Cotrectional Facility.

183. Gn October 9, 2007 the New York State Police filed a letter te the Plaintiff
stating: I am in receipt of your corresponderce dated August 23 and September 22, 2007 and
have forwarded it to the Inspector General's Office, as it would come under their
jerisdiction. Signed David_ L. McNulty, Majer, Bureau of Criminal Investigation, again we
See SELECTIVE PROSECUTION no one is willing to file charges against New York State
Gorrectional Employees and only rely on the statement of facility staff disregarding all
statements of this Plaintiff.

184. On October il, 2007 N BELLAMY, dixector of Inmate Grievance Program filed a
letter to the Plaintiff which stated in full: QUOTE" This is to acknowledge receipt of your
} » 2007. Department of f Correctional Services’ "policy,

 
  

correspondence dated September

 

     

“You are advised that you. must submit your grievances Or appeals ‘direct
Clerk at the facility. Therefore, your documents: are being returned: to yo We will not
retain a copy of your documents in this office. UNQUOTE".. .there-is no orderly, fair,

simple and expeditious method of resolving grievances, staff refuse to. take responsibility —
of there action, facility files false reports and statement, and all levels of appeals are °-

 

refusing to document the findings to protect the officers unprofessional abusive conduct,
and in fact this response by KAREN BELLAMY was not warranted because the original letters
was addressed to the Comaissioner not Karen Bellamy, but Karen Bellamy respended to protect
the staff and deliberate tampering of grievances. by defendant BRANDI WHITE. 2 an
185. On October 10, 2007 a forms ‘gomplaint was. dat t and Filed to. De Rock for cont: nued

 

 

 
  
  
 
 
 
 
 
 
 
 
 
 
  
   
   
  
 
 
 
      
   

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187. On 10/24/07 again defendant Karen Bellamy filed a response for grievance GM-43584-
07 where the facility has contiqued to deny this Plaintiff to mail out his property and has
stated they never received any equest for such mail ¢ out, which is false, continue continue
contiune lies... |
188. November 15, 2007 letters where filed to The Correctional Association of New York,
The New York State Commission of Correction and the U.S. Department of Justice, letter of
concern to the conduct of the gwievance supervisor and area sergeant, whom are defendants
Brandi White and Darin Williams, again nothing has been done to stop this conduct nor has
there been any investigation into these matters just denials.
189. On December 11, 2007 Defendant D. Rock filed a appeal response to grievance GM-
44,360-07, which now state in part the Plaintiff was issued a direct order to leave the
_ Inmate Grievance Program, alleging the Plaintiff was uncooperative in the grievance
process. which will be proven there was no hearings and was called out to withdraw the.
“filed: ..so what process was this Plaintiff uncooperative in, again found to be

  

CORRESPONDENCE: RECEIVED ar TE GOMMISSTON OF ‘CORRECTION ALLEGING STAFF MISCONDUCT AND.
HARASSMENT AT GREAT MEADOW CORRECTIONAL FACILITY. PLEASE BE ADVISED THAT SUPERINTENDENT’
ROCK HAS BEEN DIRECTLY NOTIFIED : (OF YOUR CORRESPONDENCE TO THE COMMISSION REGARDING YOUR
_ ALLEGATIONS. IT IS SUGGESTED THAT IN THE FUTURE YOU SHOULD FILE A WRITTEN COMPLAINT WITH
THE SUPERINTENDENT. IF YOU ENCOUNTER ANY PROBLEMS, YOU SHOULD DIRECT YOUR CONCERN TO
ASSISTANT COMMISSIONER AND INSPECTOR GENERAL.UNQUOTE ''. The Plaintiff has followed every
step with out response from defendant D. Rock or his staff only lies and cover up or no
response at all.
po OTS On December: 17, 2007 the U. 5. DEPARTMENT OF STICE Civil Rights Division filed a
. “letter ¢ to: the Plaintifé stating ; the concerns. do not & q11 under there jurisdiction and”

 

 

 
   
 
 
 
 
 
 
 
 
 
   
   
  
 
 
 
 
   
 
  

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of Inmate Grievance Program.

194. On January 15, 2008 thel Plaintiff filed a letter to defendant Patrict Vanguilder,
pertaining to HARASSMENT AND UNPROFESSIONAL CONDUCT, where the officer continued to make
comments about the back injury that was received from the ASSAULT by Craig Rosati on
9/17/07.

195. On January 24, 2008 again: this Plaintiff filed a FORMAL COMPLAINT to defendant D.
Rock for denial access to medical callouts, where prisoners who are under keep lock
confinement are not given escorts to callouts and or medical callouts, staff just
disregards there duties and it jtakes from 30 to 60 days to receive a new doctor callout.

196. On January 25, 2008 a grievance was filed by the Plaintiff for Harassment by
officer working night shift wha. continued to bang on the gate every time he made a round to
cause sleep depravation which is’ a form of torture, this officer stated he was going to do
a lot more and | he Promise, on January 31, 208 I was VIGILANTE BEATEN by Defendants Andrew,

 

Fraizer, Joh D

    
   

7 this’ letter’ was filed on “banal? ‘of d it’C

“198. On January 31, 2008 time 1: 23 pm a letter ‘aa dated and written by the Plaintiff
filed to defendant's Patrick Van-guilder deputy superintendent of security, D.Rock, Brian
Fischer, Richard Roy; This was (formal complaint which explained the harassment, threats,
retaliation, reprisal, theft of mail denial to legal mail, power to cell turned off, cable
to cell cut off banging on gate over night and assault.

199. On Jamuary 31, 2008 a grievance was dated by the Plaintiff. for the beating and
vigilante, gang assault ‘by defendant! s Andrew Fraizer and. two officer's because of the
complaint and grievance filed against defendant Michael Paige, who banged on the gate, made
, threats and smelled like alcohol. The Plaintiff was informed he, was going to have both arms °

 

 

 
 

 

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201. On February 2, 2008 the! \Plaintifé filed a Formal Complaint to Richard Roy of the
New York State Inspector General's Office pertaining to the Vigilante Gang Assault , hate
crimes, harassment, conspiracy ,and request for protective Custody 3 pages, Defendant

Richard Roy has failed to protest the Plaintiff and has closed all complaints as if they
never happened, officers are giyen out beating like it's approved by defendant Richard Roy
and Brian Fischer.

202. On February 4, 2008 the: Plaintiff wrote a grievance on the January 31, 2008 1:23 pm
incident of cable being turned off in cell, GM 44, 978-08.

203. On February 4, 2008 the)Plaintiff dated a grievance for harassment , retaliation,
reprisal, ordering the vigilante gang assault, by now known defendant Michael Paige...

204. On February 8, 2008 a letters was dated by defendant Patrick Vanguilder, pertaining
to the cable in the cell being turned off, of which he now stated. the problem was: fixed do
to the Plaintiff being moved. tole new celts Put in fect the Plaintitt \ was moved. do to: the

 

cell, which has been: ‘fine for ihe past 7 months, the request to ‘be transferred is denied -
and again. this grievant is founded without merit. . i
206. On February 11, 2008 The Plaintiff requested to be given a new Identification card
do to the fact it was stolen byidefendant sergeant Andrew Fraizer and the two officers the
night of the VIGILANTE GANG ASSAULT January 31, 2008.
207.. On February 12, 2008 the First Deputy Superintendent P. Heath, filed a letter to
the Plaintiff, stating this was;a response to the latter dated January 31, 2008. regarding

grievances. that: you submitted... Looked : into: this matter and have been advised by. grievance
“office: that they have received all of your. grievances; ¢ jand that they a are e being address

 

 

 

 
 

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210. On 2/16/08 a response was dated by defendant David Rock for grievance GM-44, 914-08
code #49, HARASSMENT and it stakes QUOTE " A HIGH RANKING SECURITY SUPERVISOR CONDUCTED AN
INVESTIGATION INIO THE ALLEGATIDNS BROUGHT FORTH BY THE GRIEVANT. THE INVESTIGATION
INCLUDED AN INTERVIEW WITH THE GRIEVANT, AS WELL AS ALL PERTINENT INDIVIDUALS. IT IS NOTED
THAT THE GRIEVANT HAS NOT PROVIDED A SINGLE WITNESS TO THIS INCIDENT AND HAS ONLY PROVIDED
MINIMAL ASSISTANCE DURING THE INVESTIGATION PROCESS. THE SECURITY SUPERVISOR IDENTIFIED IN
THIS COMPLAINT HAS DENIED THE ALLEGATIONS PUT FORTH, AND HAS SUBMITTED WRITTEN DOCUMENTS TO
THAT EFFECT. IT IS WORTH NOTING, THAT THE SUPERVISOR WAS NOT EVEN ON DUTY THE NIGHT IN

QUESTION. FURTHERMORE, DURING THE INVESTIGATION IT WAS FOUND THAT THE GRIEVANT WAS NOT ABLE
TO IDENTIFY ANY OF THE ADDITIONAL STAFF HE REFERENCES IN HIS COMPLAINT. IT IS ALSO WORTH
NOTING, THAT THE GRIEVANT WAS. PROVIDED WITH A MEDICAL EXAM ON 2/1/08 ABTER. HIS ALLEGATIONS

OF STAFF ASSAULT. THE MEDICAL DOES NOT DOCUMENT ANY VISIBLE INJURIES IN PART. The.
Plaintiff did give all | informati ae and | identified officers, t the camera. would. hays

 

    
 

   
 

   

    
   
   

black a and blue.

211, The Plaintiff again recaived a letter frog: defendant Patrick Vanguilder addressing
and denying all allegation of staff's misconduct and continued. harassment, tv cable being
turned off, Assault by staff, and Threats of misbehavior report if the Plaintiff refuses
mental health callout.

212. On February 19, 2008 the Plaintiff wrote a formal complaint to Defendant David Rock
of which again requested Protective Custody do to continued threats of staff, and continued
harassment by John Doe #1 who did the VIGILANTE GANG ASSAULT on January 31, 2008 with |
defendant's Andrew Fraizer and John Dee’ #2. copies of these ‘request where sent to all state i:

. cert . '
and. federal | agencies. , mo :

5 213; On 2/19/2008'a-feleny: ‘oc j
. ie District Atta ey, of Wa:

 

 
 
   
 

 

 
 
   

   

215. “On February 26, 2008" a: attr was 5 dated and es to’ Defent
a Yor'e State ‘Department f lores ; ci Dl

  

 

 
 

 

 

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Zi6. On February 29, 2008 a response was filed by defendant David Reck grievance number
45, 002-08 Harassment Code #49 and @ continued denial: of any wrong doing by staff end
staff's word is believed over the Plaintiff which has jallowed the continued unprofessional
conduct do to superintendent's covering up for officer. this grievance was appealed.

217. A memorandum was received via institutional mail from Vern Fonda director of
operations inspector general's office dated February 29, 2008 stating the plaintiff's
letter was sent to Defendant Dawid Rock, this memorandum does not in any way identify the
letter or documents this allows for continued coverup as all responses become less and less
pertaining to subject matter, officers are never spoken about and all staff names are kept

out of all responses as if it has never happen hew can this document be dated February 29, -
2008 when they said they have received the Plaintiff's letter dated 3/3/08 in fact the —
letter was dated March 2, 2008 of which did explain the vigilante gang assault by staff,

  

218 «,.On- March. 3, "2008 a grievance vas Filed by the Plaintifé for commissary Staff
“ordering inmates to harass the Plaintiff and demanded the Plaintiff not file. any grievances”
"against c commissary staff, grievapces was never answered and or filed to the. best of
plaintift' s personal knowledge. |
219. On March 3, 2008 a letter was filed by Defendant Lucien J. Leclaire Jr. Deputy

Commissioner, it stated "QUOTE" Dear Mr. Gillard: Commissioner Fischer has asked me to.
respond to your letter to him regarding your allegations of staff misconduct at Great
Meadow Correctional Facility. Superintendent Rock reports that you are addressing your.
concerns through the Inmate Grievance Program (IGP), specifically grievance. GM “#4491408 -
This is the appropriate mechanism to address your issuds and your grievance is currently:

bein . shee ies

 

 

     

“te ‘facility’ officials as: ‘they are in the best position £0 aseda “you:
: se This response, is: false and. ful of cover up and lies, all levels.

 

 

 
